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                    Exhibit B
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                         UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF Northern District of California
             Form 1. Notice of Appeal from a Judgment or Order of a
                           United States District Court
U.S. District Court case number: 3:23-cv-03836-CRB
      Notice is hereby given that the appellant(s) listed below hereby appeal(s) to
the United States Court of Appeals for the Ninth Circuit.

Date case was first filed in U.S. District Court: July 31, 2023

Date of judgment or order you are appealing: March 25, 2024

Docket entry number of judgment or order you are appealing: ECF 75, 76, 77
Fee paid for appeal? (appeal fees are paid at the U.S. District Court)
   Yes         No           IFP was granted by U.S. District Court
List all Appellants (List each party filing the appeal. Do not use “et al.” or other abbreviations.)
Plaintiff X Corp.




Is this a cross-appeal?          Yes            No
If yes, what is the first appeal case number?
Was there a previous appeal in this case?                    Yes            No
If yes, what is the prior appeal case number?
Your mailing address (if pro se):




City:                                         State:                  Zip Code:

Prisoner Inmate or A Number (if applicable):

Signature                                                               Date       4/23/2024
     Complete and file with the attached representation statement in the U.S. District Court
                    Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 1                                                                                          Rev. 06/09/2022
